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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


JOSE MARADIAGA, BOP No 30926-177,             §
     Defendant-Movant,                        §      No. 3:03-CR-0291-K
                                              §      (No. 3:04-CV-2050-K)
v.                                            §
                                              §
UNITED STATES OF AMERICA,                     §
    Plaintiff-Respondent.                     §

                                      ORDER

      After making the independent review required by 28 U.S.C. § 636(b), the

Court finds that the Findings, Conclusions and Recommendation of the Magistrate

Judge are correct, and they are adopted as the findings and conclusions of the Court.

      IT IS, THEREFORE, ORDERED that the Findings, Conclusions and

Recommendation of the Magistrate Judge are ADOPTED.

      Signed this 1st day of August, 2005.

                                       s/
                                       ___________________________________
                                       ED KINKEADE
                                       UNITED STATES DISTRICT JUDGE
